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                      EXHIBIT A
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 AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                            Eastern District
                                                        __________  District of
                                                                             of Texas
                                                                                __________
                        ExitExchange Corp.
                                                                                )
                                Plaintiff                                       )
                                   v.                                           )      Civil Action No.      2:13-cv-00400-JRG-RSP
                     Manwin USA, Inc. et al.                                    )
                                                                                )
                               Defendant                                        )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                              Bernard Ferguson
                                                    600 Holiday Plaza Dr. #545, Matteson, IL 60443
                                                        (Name of person to whom this subpoena is directed)

      ✔Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
      ’
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:


  Place: Chicago Marriott Downtown                                                      Date and Time:
            540 N. Michigan Ave., Chicago, IL 60611                                                       02/19/2014 9:00 am

           The deposition will be recorded by this method:                    Stenographically, audio recording, and/or video recording

       ✔ Production: You, or your representatives, must also bring with you to the deposition the following documents,
       ’
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:


                        See attached schedule (A)

        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        12/19/2013
                                    CLERK OF COURT
                                                                                          OR
                                                                                                               /s/ Todd M. Nosher
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Manwin USA, Inc.
                                                                         , who issues or requests this subpoena, are:
Todd M. Nosher
Venable LLP, 1270 Avenue of the Americas, New York, NY, 10020, (212) 808-5673, tmnosher@venable.com

                               Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, a notice
 and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
 directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 2:13-cv-00400-JRG-RSP

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                         Reset
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                              Schedule A

                                            DEFINITIONS

         1.      “You,” and “Your,” mean you, as well as your agents, servants, employees,

 affiliates, accountants, consultants, and attorneys, and all other persons acting or purporting to

 act on your behalf, past and present.

         2.      “ExitExchange” or “Plaintiff” means ExitExchange Corp., and all parents,

 subsidiaries, and affiliates thereof, all divisions, predecessors, successors, and assigns of each of

 the foregoing, and all officers, employees, investors, representatives, directors, agents,

 consultants, attorneys, and all other persons acting or purporting to act on behalf of or under the

 control of any of the foregoing, past and present.

         3.      “Manwin” or “Defendant(s)” means Manwin USA, Inc. and Manwin D.P. Corp.,

 and all parents, subsidiaries, and affiliates thereof, all divisions, predecessors, successors, and

 assigns of each of the foregoing, and all officers, employees, directors, agents, consultants,

 attorneys, and all other persons acting or purporting to act on behalf or under the control of any

 of the foregoing.

         4.      “Document(s)” means each and every writing, whether an original, a draft, or a

 copy, however reproduced, and each and everything from which information can be processed

 or transcribed, and is defined to be synonymous in meaning and equal in scope to the usage of

 this term in Federal Rule of Civil Procedure 34, including but not limited to the examples set

 forth in Federal Rules of Evidence 1001. Any document with any marks such as initials,

 comments, or notations of any kind is not deemed to be identical to one without such marks and

 is to be identified and/or produced as a separate document.

         5.      “Electronically stored information” or “ESI” means any information stored in

 electronic form, whether an original, draft, or a copy, however reproduced, and each and
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 everything from which information can be processed or transcribed, and is defined to be

 synonymous in meaning and equal in scope to the usage of this term in Federal Rule of Civil

 Procedure 34.

         6.      “Thing(s)” has the meaning prescribed in Federal Rule of Civil Procedure 34,

 and includes every kind of physical specimen or tangible item, other than a document, in Your

 possession, custody or control.

         7.      “Communication” means every manner of disclosure, transfer, or exchange of

 information whether orally or by document or whether face-to-face, by telephone, mail, e-mail,

 telegram, telex, or telefax, personal delivery, social media or otherwise.

         8.      “Prior art” means any and all publications, patents, physical components, uses,

 sales, offers for sale or other activity relating to the subject matter of the Patent-in-Suit and

 having or occurring at a date such as to be potentially relevant under any subsection of 35

 U.S.C. § 102 or 35 U.S.C. § 103.

         9.      Unless otherwise stated, “the ’229 patent” shall mean U.S. Patent No. 7,353,229.

         10.     “Patent-in-Suit” shall mean the ’229 patent, and all of the applications leading to

 the issuance of the ’229 patent.

         11.     The words “referring” and/or “relating to” mean describing, discussing,

 constituting, containing, considering, embodying, evaluating, mentioning, memorializing,

 supporting, collaborating, demonstrating, providing, showing, refuting, disputing, rebutting,

 controverting, contradicting, and made in connection with or by reason of or arising therefrom.

                                          INSTRUCTIONS

         1.      In responding to this subpoena, you are required to produce all responsive

 documents that are in your possession, custody, or control or in the possession, custody, or
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 control of your agents, employees, or other representatives. A document shall be deemed to be

 within your control if you have the right to secure the document or a copy of the document from

 another person having possession or custody of the document.

         2.      Should you or others subject to your control, including attorneys, become aware

 of documents responsive to this subpoena subsequent to your initial production, it is requested

 and directed that such documents promptly be made available for inspection and copying.

        3.      Each requested document shall be produced in its entirety, without abbreviation

 or redaction, and shall include all attachments, appendices, exhibits, lists, schedules or other

 documents at any time affixed thereto. If a document responsive to any request cannot be

 produced in full, it shall be produced to the extent possible with an explanation stating why

 production of the remainder is not possible.

        4.      You must produce responsive documents as they have been kept in the usual

 course of business or shall organize or label them to correspond to the enumerated requests of

 this subpoena. If, after exercising due diligence to secure them, you cannot provide some or any

 of the requested documents, so state and provide all documents to the extent possible, specifying

 the reason for your inability to produce the remainder of the documents, and stating whatever

 information or knowledge you have concerning each document not produced.

        5.      If any document is withheld under any claim of privilege, including without

 limitation, attorney-client privilege and attorney work product, you should provide the

 following information with respect to such document: (a) the date of the document; (b) the

 name of its author(s) or preparer(s); (c) the name of each person who was sent or furnished

 with the document or a copy thereof; (d) the title or description of the document sufficient to

 identify it without revealing the information for which privilege is claimed; (e) the claim of
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 privilege under which it is withheld; and (f) a description of the subject matter of the

 document in sufficient detail to support your contention that the document is privileged.

        6.         Unless otherwise specified, the time period covered by these requests is May 24,

 2001 and before, and shall encompass all documents and information relating in whole or in part

 to such period.

        7.         Terms not specifically defined shall be given their ordinary meanings as you

 understand them to be used in the trade or pursuant to ordinary usage.

                                             REQUESTS

 REQUEST NO.1:

        All Documents, ESI and Things relating to a pop-up window or a pop-under window,
 including but not limited to, any source code, screenshots, manuals, descriptions, protocols, and
 templates relating to the advertisements.

 REQUEST NO.2:

         All Documents, ESI and Things relating to content for populating a pop-up window or a
 pop-under window, including but not limited to, advertisements and sales letter promoting
 Instant Sales Letters.

 REQUEST NO.3:

         All Documents, ESI and Things relating to the launch of Pop-Up Exchange, including but
 not limited to, the JavaScript used to create pop-up or pop-under windows, and any Documents
 and Things concerning the conception, design, development, and/or testing of pop-up or pop-
 under windows before the launch.

 REQUEST NO. 4:

         All Documents, ESI and Things relating to the operation of Pop-Up Exchange, including
 but not limited to, any pop-up or pop-under windows created by Pop-Up Exchange, and any
 source code, screenshots, manuals, descriptions, protocols, and templates relating to
 advertisements.

 REQUEST NO. 5:

        All Documents, ESI and Things relating to advertisements offered by Pop-Up Exchange.
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 REQUEST NO. 6:

         All Documents, ESI and Things that constitute or relate to any agreement entered into by
 Yourelating to the provision of pop-up or pop-under advertising services, including screenshots
 of the pop-up or pop-under advertisements, source code used to create the pop-up or pop-under
 advertisements, and any other related advertising, marketing, or other materials provided to Your
 customers.

 REQUEST NO. 7:

        All Documents, ESI and Things sufficient to identify all employees, consultants,
 designers, and programmers of Pop-Up Exchange.
